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1    McGREGOR W. SCOTT
     United States Attorney
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     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: 916-554-2771
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7
8                   IN THE UNITED STATES DISTRICT COURT FOR THE
9                                EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )                2:04-cr-0357 MCE
                                         )
12               Plaintiff,              )                MOTION AND ORDER
                                         )                DISMISSING INDICTMENT;
13         v.                            )                ORDER
                                         )
14   RODGER BRUNEAU, SR.,                )
                                         )
15               Defendant.              )
     ____________________________________)
16
17          The United States of America, by and through its undersigned attorney, Kymberly A.
18   Smith, Assistant United States Attorney of the Eastern District of California, advises this Court
19   that RODGER BRUNEAU, SR. passed away on or about February 14, 2005. Accordingly, the
20   government respectfully requests that this Court dismiss with prejudice, the above-captioned
21   indictment. This motion is made pursuant to the provisions of Rule 48(a) of the Federal Rules of
22   Criminal Procedure in that the defendant is deceased.
23   DATED: January 4, 2006                               McGREGOR W. SCOTT
                                                          United States Attorney
24
                                                          By: /s/ Kymberly A. Smith
25                                                        KYMBERLY A. SMITH
                                                          Assistant U.S. Attorney
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1                                         ORDER
2
3          IT IS HEREBY ORDERED THAT the above-captioned Indictment against RODGER
4    BRUNEAU SR., be and the same hereby is DISMISSED with prejudice.
5
6    DATED: January 4, 2006
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9                                           ___________________________________
                                            MORRISON C. ENGLAND, JR
10                                          UNITED STATES DISTRICT JUDGE
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